       Case 1:16-cr-10233-RGS Document 476 Filed 12/20/18 Page 1 of 3



                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

                  CRIMINAL ACTION NO. 16-10233-RGS

                      UNITED STATES OF AMERICA
                                      v.
                           DONNA M. ACKERLY


                      ORDER SETTING TIME LIMITS
                           FOR JURY TRIAL

                            December 20, 2018

STEARNS, D.J.
      The court imposes the following limits on the presentation of evidence
in the forthcoming January 7, 2019 trial of defendant Donna Ackerly. The
government is allocated eleven (11) hours.          Defendant will have a
corresponding (11) hours. Cross-examination is taxed to the examining
party. The limits do not include empanelment, opening statements, and
closing arguments.

      By way of explanation, federal courts have considerable authority when

it comes to managing their dockets. Sec’y of Labor v. DeSisto, 929 F.2d 789,

795-796 (1st Cir. 1991). This includes the ability to impose reasonably strict

time limits on jury trials. Id. This inherent authority is reinforced by the

Federal Rules of Evidence, which are to “be construed so as to . . . eliminate

unjustifiable expense and delay.” Fed. R. Evid. 102. Specifically, the court
       Case 1:16-cr-10233-RGS Document 476 Filed 12/20/18 Page 2 of 3



has the power to “exercise reasonable control over the mode and order of

examining witnesses and presenting evidence so as to . . . avoid wasting

time.” Fed. R. Evid. 611(a)(2).

      Although more common in civil cases, “setting time limits in a criminal

trial is equally authorized.” United States v. Cousar, 2007 WL 4456798, at

*2 (W.D. Pa. Dec. 16, 2007); accord United States v. Hildebrand, 928 F.

Supp. 841, 849 (N.D. Iowa 1996). Indeed, the First Circuit has specifically

acknowledged the court’s authority to “impos[e] reasonable time limits on

both civil and criminal trials in the exercise of the court’s reasonable

discretion.” DeSisto, 929 F.2d at 795 (citing United States v. Reaves, 636 F.

Supp. 1575, 1578 (E.D. Ky. 1986)); accord United States v. DeCologero, 364

F.3d 12, 25 (1st Cir. 2004).      Time limits promote a more efficient

presentation of the case, which not only improves the quality of jury

comprehension, see United States v. Warner, 506 F.3d 517, 521-524 (7th Cir.

2007) (op. dissenting from denial of rehearing en banc), but also eliminates

“[n]umerous objections or sua sponte interruptions by the court to debate

what evidence is repetitious or cumulative,” Reaves, 636 F. Supp. at 1580. A

court’s imposition of time limits or other restraints on trial time must, of

course, be reasonable. DeSisto, 929 F.2d at 795. The court’s discretion must

be guided by an assessment of the complexity of the case to ensure that the


                                     2
       Case 1:16-cr-10233-RGS Document 476 Filed 12/20/18 Page 3 of 3



parties can “present[] sufficient evidence on which to base a reliable

judgment.” Id. at 796. In the criminal context, time limits must also account

for special considerations not present in civil cases. In particular, a court

must respect a defendant’s right to testify in her own defense and her right

to confront the witnesses against her. See United States v. Morrison, 833

F.3d 491, 504-505 (5th Cir. 2016). In this case the court has the advantage

of having heard a nearly complete prior iteration of this same trial and

believes this it has balanced all of the appropriate considerations that guide

its exercise of discretion in the matter. Consequently, the time limits will be,

absent exigent circumstances, strictly enforced.

                                    SO ORDERED.
                                    /s/ Richard G. Stearns________
                                    UNITED STATES DISTRICT JUDGE




                                       3
